MEMO.ENDORSED

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Law Offices of

Daniel A. Hochheiser
2 Overhill Road, Suite 400
Scarsdale, New York 10583

Deft's request to adjourn the in-

 

dah@hochheiser.com person Sentencing from Feb. 5,
(646) 863-4246 2021 until Apr. 16, 2021 at 12:00
noon or, alternatively, Apr. 23,
January 20, 2021 2021 at 12:00 noon is granted
; . without objection by the Gov't.
Via ECF and email Clerk of Court requested to
Hon. Nelson S. Roman terminate the motion (doc. 58).
United States District Court Dated: Jan. 27, 2021
300 Quarropas Street
White Plains, NY 10605 SO ORDERED: ~~
Re: USA v. Andre Little, 19 CR 276-02 NSR CO fete
HON. NELSON S: ROMAN
Your Honor: UNITED STATES DISTRICT JUDGE

I am assigned counsel to Andre Little. Little is scheduled to be sentenced on February 5,
2021. I request an adjournment of Little’s sentence to a date in March or April convenient to the
Court.

The reason for the request is: (1) I have not yet received the final Presentence
Investigation Report and (2) my client wishes to have his sentence proceeding in person in court.
I understand an in-person proceeding would not be likely be possible on February 5, given the
ongoing COVID-19 pandemic which continues to limit access to the SDNY White Plains
courthouse. I am available during the months of March and April, with the exception of March
29, a date I will be out for the Passover holiday.

 

I consulted with AUSA Lindsey Keenan via email and the Government does not object
to this request.

Respectfully submitted,
LE ZL
Daniel A. Hochheiser

Ce: all counsel via ECF

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